Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 1 of 11 PageID# 123




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)



 CITY OF FORT LAUDERDALE POLICE                        Case No. 1:22-cv-00578-LMB-IDD
 AND FIREFIGHTERS’ RETIREMENT
 SYSTEM, Individually and on Behalf of All             CLASS ACTION
 Others Similarly Situated,

                                Plaintiff,

                         v.

 PEGASYSTEMS INC., ALAN TREFLER, and
 KENNETH STILLWELL,

                                Defendants.



 MEMORANDUM OF LAW IN SUPPORT OF MOTION OF GENERAL RETIREMENT
 SYSTEM OF THE CITY OF DETROIT FOR APPOINTMENT AS LEAD PLAINTIFF
           AND APPROVAL OF SELECTION OF LEAD COUNSEL

       General Retirement System of the City of Detroit (“Detroit GRS”) respectfully submits

this memorandum of law in support of its motion for the entry of an order: (i) appointing Detroit

GRS as Lead Plaintiff for the class pursuant to Section 21D(a)(3) of the Securities Exchange Act

of 1934 (the “Exchange Act”), 15 U.S.C. § 78u-4(a)(3), as amended by the Private Securities

Litigation Reform Act of 1995 (the “PSLRA”); (ii) approving Detroit GRS’s selection of

Abraham, Fruchter & Twersky, LLP (“AF&T”) as Lead Counsel and Butler Curwood PLC

(“Butler Curwood”) as Local Counsel for the putative class; and (iii) such other relief as the Court

may deem to be just and proper.

I.     PRELIMINARY STATEMENT

       The above-captioned securities class action was filed on May 19, 2022, on behalf of all

purchasers of Pegasystems Inc. (“PEGA” or the “Company”) common stock between May 29,
                                               -1-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 2 of 11 PageID# 124




2020 and May 9, 2022, inclusive (the “Class Period”), seeking to pursue remedies under the

Exchange Act.

       The PSLRA directs courts to appoint as lead plaintiff the class member it “determines to

be most capable of adequately representing the interests of class members.” 15 U.S.C. § 78u-

4(a)(3)(B)(i). Here, Detroit GRS should be appointed as lead plaintiff because it: (1) timely filed

its motion; (2) it has a substantial financial interest in the outcome of this litigation; and (3) will

typically and adequately represent the class’s interests. See 15 U.S.C. § 78u-4(a)(3)(B)(iii). As a

sophisticated institutional investor, Detroit GRS is the prototypical lead plaintiff envisioned by

Congress to serve as lead plaintiff under the PSLRA, and its appointment would therefore fulfill

this critical legislative purpose. In addition, Detroit GRS’s selection of AF&T to serve as lead

counsel should be approved because the firm possesses extensive experience prosecuting securities

class actions and will adequately represent the interests of all class members. See 15 U.S.C. § 78u-

41(a)(3)(B)(v). For these reasons, and those enumerated below, this Court should grant Detroit

GRS’s motion for appointment as lead plaintiff and approve its selection of counsel.

II.    FACTUAL BACKGROUND

       As alleged, PEGA develops customer relationship management (“CRM”) software. The

CRM software industry is extremely competitive. As such, PEGA consistently warned in its SEC

filings that the “market for our offerings is intensely competitive, rapidly changing, and highly

fragmented” and that PEGA was subject to “significant competition” from other technology

vendors.

       The complaint alleges that the Defendants misrepresented and/or failed to disclose that: (1)

PEGA had engaged in corporate espionage and misappropriation of trade secrets to better compete

against Appian Corporation (“Appian”), a principal competitor; (2) Defendants’ product



                                                 -2-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 3 of 11 PageID# 125




development and associated success was, in significant part, not the result of its own research and

product testing but rather the result of such corporate espionage and trade secret theft; (3)

Defendants had engaged in a scheme to steal Appian trade secrets, which was not only known to,

but carried out through, the personal involvement of the Company’s chief executive officer

(“CEO”); (4) the Company’s CEO and other officers and employees did not comply with the

Company’s written Code of Conduct, including its express prohibition on “stealing” confidential

information from a competitor and “misrepresenting your identity in hopes of obtaining

confidential information”; (5) the Company was “unable to reasonably estimate damages” in the

Appian Litigation; and (6) as a result of the foregoing, Defendants’ statements about PEGA’s

business, operations, prospects, legal compliance, and potential damages exposure in the Appian

Litigation were materially false and/or misleading and/or lacked a reasonable basis when made.

       On May 29, 2020, Appian Corp. (“Appian”) filed a civil action against PEGA and Youyong

Zou (“Zou”) in the Circuit Court for Fairfax County, Virginia, captioned Appian Corp. v.

Pegasystems Inc. & Youyong Zou, for trade secret misappropriation, violation of the Virginia

Computer Crimes Act, tortious interference, and statutory business and common law conspiracy.

Specifically, Appian alleged efforts by PEGA to obtain and use Appian trade secrets through Zou,

who worked on a federal program involving Appian and had access to Appian’s software and

documentation.

       During the seven-week jury trial, Appian presented substantial evidence that PEGA

utilized Appian’s trade secrets to improve the ease of use, social capabilities, and mobile

capabilities of the PEGA platform. Appian also supplied evidence showing PEGA referred to the

misappropriation internally as “Project Crush,” which involved PEGA paying Zou from 2012 to

2014, and that Zou was referred to as a “spy” internally at PEGA. Appian further provided



                                               -3-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 4 of 11 PageID# 126




evidence demonstrating Zou made video recordings of the Appian development environment so

the PEGA could compile the competitive intelligence. Notably, when testifying under oath,

defendant Trefler, PEGA’s founder and CEO, conceded that he knew all about the blatantly

improper and illegal tactics, knew that it was inappropriate for PEGA to have hired Zou, and knew

that Zou had engaged in unauthorized activities.

        On May 9, 2022, PEGA filed a Current Report on Form 8-K revealing that the Virginia

circuit court jury had awarded Appian more than $2 billion for PEGA’s trade secret

misappropriation. On this news, PEGA’s stock price dropped from $65.93 per share on May 9,

2022 to a closing of price of $52.25 per share on May 10, 2022, a one-day decline of 21% that

wiped out over $1 billion in market capitalization. PEGA’s stock price dropped another 8% to

close at $48.07 per share the following day, representing a two-day decline of 27%.

III.    ARGUMENT

        A.      Detroit GRS is the “Most Adequate Plaintiff” and Should Be
                Appointed Lead Plaintiff

        The PSLRA establishes the procedure for the appointment of a lead plaintiff in “each

private action arising under [the Exchange Act] that is brought as a plaintiff class action pursuant

to the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-4(a)(1); see also 15 U.S.C. §

78u4(a)(3)(B)(i). First, the pendency of the action must be publicized in a widely circulated

national business-oriented publication or wire service not later than 20 days after filing of the first

complaint. 15 U.S.C. § 78u-4(a)(3)(A)(i).

        Next, the PSLRA provides that the Court shall adopt a presumption that the most adequate

plaintiff is the person that:

        (aa) has either filed the complaint or made a motion in response to a notice . . .;

        (bb) in the determination of the court, has the largest financial interest in the relief
        sought by the class; and

                                                 -4-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 5 of 11 PageID# 127




          (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure.

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). Detroit GRS meets each of these requirements and should be

appointed lead plaintiff.

                 1.      Detroit GRS’ Motion is Timely

          The statutory notice in this case was published on May 19, 2022, on GlobeNewswire

advising class members of the pendency of the action, its alleged claims, its class definition, and

the option of moving the Court to be appointed as lead plaintiff no later than July 18, 2022, i.e.,

within 60 days of the commencement of this case. See Declaration of Paul M. Falabella in Support

of Motion of the General Retirement System of the City of Detroit for Appointment as Lead

Plaintiff and Approval of Selection of Lead Counsel, Ex. A (“Falabella Decl.”). Accordingly,

Detroit GRS’s Motion was filed by the statutory deadline is therefore timely.

                 2.      Detroit GRS Believes It Has the Largest Financial Interest in
                         the Relief Sought by the Class

          As evidenced by the PSLRA Certification submitted herewith, Detroit GRS suffered a

significant loss as a result of the Company’s alleged violations of the federal securities laws. See

Falabella Decl., Ex. B. Therefore, Detroit GRS has a substantial financial interest in the relief

sought by the class. To the best of Detroit GRS’s knowledge, no other investor has suffered greater

a loss.

                 3.      Detroit GRS Otherwise Satisfies the Typicality and Adequacy
                         Requirements of Rule 23

          In addition to possessing a significant financial interest, a lead plaintiff must also

“otherwise satisf[y] the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15

U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). In assessing whether the plaintiff suffering the largest financial

loss meets the other requirements of Rule 23, “the candidate must make at least a preliminary

showing that it has claims which are typical of those of the putative class and that it has the capacity
                                                  -5-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 6 of 11 PageID# 128




to provide adequate representation for others.” Switzenbaum v. Orbital Scis. Corp., 187 F.R.D.

246, 250 (E.D. Va. 1999). Here, Detroit GRS easily satisfies those requirements.

                       (a)     Detroit GRS’s Claims Are Typical

       “A person’s claim is typical when each class member’s claim arises from the same course

of events, and each class member makes similar legal arguments to prove the defendant’s liability.”

In re MicroStrategy Inc. Sec. Litig., 110 F. Supp. 2d 427, 435 (E.D. Va. 2000) (citation omitted).

Detroit satisfies the typicality requirement because its claims arise from the same alleged

misconduct and are based on the same legal theory as the claims of other class members. Similar

to all other class members, Detroit GRS: (1) purchased PEGA common stock during the Class

Period; (2) was adversely affected by the alleged false and misleading statements and omissions;

and (3) suffered damages thereby. Accordingly, Detroit GRS’s claims arise from the same alleged

misconduct and are based on the same legal theory as the claims of other class members. Thus,

Detroit GRS’s claims are typical of the class.

                       (b)     Detroit GRS Will Adequately Represent the Class

       Detroit GRS also meets the adequacy requirement of Rule 23. “[A] person may be an

adequate representative of the class where that person (i) does not have interests that are adverse

to the interests of the class, (ii) has retained competent counsel, and (iii) is otherwise competent to

serve as class representative.” MicroStrategy, 110 F. Supp. 2d at 435-36.

       Detroit GRS’s interests are aligned with those of other class members given that each class

member’s theory of securities fraud is fundamentally the same. Detroit GRS has also demonstrated

its adequacy by signing a sworn Certification affirming its willingness to serve as, and to assume

the responsibilities of, class representative. See Falabella Decl., Ex. B. Detroit GRS has also

demonstrated its adequacy through the selection of AF&T to serve as lead counsel. As discussed



                                                 -6-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 7 of 11 PageID# 129




more fully below, AF&T is highly qualified and experienced in the area of securities class action

litigation and has repeatedly demonstrated its ability to prosecute complex securities class action

litigation.

        In addition to satisfying the typicality and adequacy requirements of Rule 23, Detroit GRS

is also the prototypical investor Congress sought to encourage to lead securities class actions. H.R.

Rep. No. 104-369, at 34, reprinted in 1995 U.S.C.C.A.N. at 733 (“The Conference Committee

believes that increasing the role of institutional investors in class actions will ultimately benefit

shareholders and assist courts by improving the quality of representation in securities class

actions.”).

        B.     The Court Should Approve Detroit GRS’s Selection of Counsel

        The PSLRA vests authority in the lead plaintiff to select and retain lead counsel, subject to

the Court’s approval. See 15 U.S.C. § 77u-4(a)(3)(B)(v). The Court should approve Detroit GRS’s

choice of AF&T to serve as Lead Counsel.

        AF&T is highly skilled and knowledgeable in litigating securities fraud class actions which

will enable it to prosecute this action effectively and expeditiously.        AF&T is among the

preeminent securities class action law firms in the country, with the skill and knowledge that will

enable it to prosecute this action effectively and expeditiously. AF&T has successfully prosecuted

numerous securities fraud class actions nationwide. See, e.g., In re Peregrine Systems, Inc.

Securities Litigation, No. 02- CV-0870-BEN (RBB) (S.D. Cal.) (AF&T, as co-lead counsel,

obtained a settlement of approximately $117.5 million); see also Brown v. China Integrated

Energy, Inc., No. CV 11-02559-BRO (PLAx) (C.D. Cal.). For instance, in Pyramid Holdings, Inc.

v. Terraform Global, Inc. et al.AF&T was appointed sole lead counsel for the class and secured a

$48.75 million settlement representing more than 50% of likely recoverable damages based upon



                                                -7-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 8 of 11 PageID# 130




rulings in a related multi-district litigation. This is one of many successful recoveries achieved by

AF&T as a lead counsel in securities fraud class actions. See also Godinez v. Alere Inc., et al.,

No. 1:16-cv-10766 (PBS), ECF No. 152 (D. Mass. Dec. 22, 2017) (AF&T, as co-lead counsel,

achieved a $20 million settlement); Citiline Holdings, Inc. v. iStar Financial, Inc., No. 08-cv-3612-

RWS (S.D.N.Y) (AF&T as co-lead counsel obtained a $29 million settlement); Silverstrand

Investments v. AMAG Pharmaceuticals et al., No. 1:10-cv-10470 (NMG), ECF No. 24 (D. Mass

Jul. 27, 2010) (AF&T as lead counsel settled the action following a successful appeal to the U.S.

Court of Appeals for the First Circuit); Utesch v. Lannett Company Inc., et al., No. 2:16-cv-05932

(WB), ECF No. 53 (E.D. Pa. Mar. 20, 2017) (AF&T serving as lead counsel in pending securities

class action). See Falabella Decl., Ex. C (AF&T Firm Resume).

       Butler Curwood has extensive experience in this District. Butler Curwood’s partners have

litigated hundreds of cases in the U.S. District Court for the Eastern District of Virginia. The

partners at Butler Curwood have successfully litigated numerous complex, multi-plaintiff and

collective/class actions in the Eastern District of Virginia, Richmond Division. See e.g., Rogers et

al. v. City of Richmond, 3:11cv620-HEH-DJN, Greene et al. v. U.S. Postal Service, 3:17cv26-

REP, Ewers et al. v. City of Petersburg, 3:16cv29-HEH-RCY. Butler Curwood has also served as

local counsel, working closely with lead counsel admitted in other jurisdictions, in complex, multi-

plaintiff cases pending in the Eastern District of Virginia. See e.g., Hall et al. v. Dominion Energy,

Inc. et al., 3:18cv321-JAG, Edwards et al. v. Optima Health Plan et al., 2:20cv192-RCY-LRL.

Finally, the attorneys of Butler Curwood have experience serving in a liaison/local counsel role in

financial litigation such as this matter. See In re Altria Group, Inc. Derivative Litigation,

3:20CV00772-DJN, 339 F.R.D. 42 (E.D. Va. 2021) (appointing Butler Curwood, PLC as liaison

counsel), In re Comscore, Inc. Virginia Shareholder Derivative Litigation, CL-2016-9465 (Fairfax



                                                -8-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 9 of 11 PageID# 131




Cir. Ct.). Butler Curwood’s experience with this Court along with their depth in complex litigation

and the local/liaison counsel experience all support appointment of Butler Curwood as local

counsel.

IV.    CONCLUSION

       For the foregoing reasons, Detroit GRS respectfully requests that the Court: (i) appoint

Detroit as Lead Plaintiff; and (ii) approve its selection AF&T as Lead Counsel and Butler Curwood

as Local Counsel for the class.

 DATED: July 18, 2022                      BUTLER CURWOOD PLC

                                           By: /s/ Paul M. Falabella
                                           Paul M. Falabella (VSB No. 81199)
                                           Zev Antell (VSB No. 74634)
                                           140 Virginia Street, Suite 302
                                           Richmond, VA 23219
                                           Telephone: (804) 648-4848
                                           Facsimile: (804) 237-0413
                                           Email: paul@butlercurwood.com
                                                   zev@butlercurwood.com

                                           Local Counsel for General Retirement System of the
                                           City of Detroit

                                           ABRAHAM FRUCHTER & TWERSKY, LLP
                                           Mitchell M.Z. Twersky (pro hace vice to be filed)
                                           Atara Twersky (pro hace vice to be filed)
                                           Sean M. Handron-O’Brien (pro hac vice to be filed)
                                           450 Seventh Avenue, 38th Floor
                                           New York, NY 10123
                                           Telephone: (212) 279-5050
                                           Facsimile: (212) 279-3655
                                           MTwersky@aftlaw.com
                                           ATwerslu@aftlaw.com
                                           SHandronobrien@aftlaw.com

                                           Counsel for General Retirement System of the City
                                           of Detroit and Proposed Lead Counsel




                                               -9-
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 10 of 11 PageID# 132




                                   VANOVERBEKE,MICHAUD
                                     & TIMMONY, P.C.
                                   MICHAEL VANOVERBEKE
                                   79 Alfred Street
                                   Detroit, MI 48201
                                   Telephone: (313) 578-1200
                                   mvanoverbeke@vmtlaw.com

                                   Additional Counsel for General Retirement System
                                   of the City of Detroit




                                     - 10 -
Case 1:22-cv-00578-LMB-IDD Document 20 Filed 07/18/22 Page 11 of 11 PageID# 133




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of July 2022, I electronically filed the foregoing with

 the Clerk of the Court by using the CM/ECF system which will send notification of such filing to

 counsel of record.



                                                       _/s/ Paul M. Falabella
                                                       Paul M. Falabella (VSB No. 81199)
                                                       Butler Curwood, PLC
                                                       140 Virginia Street, Suite 302
                                                       Richmond, Virginia 23219
                                                       Tel: 804-648-4848
                                                       Fax: 804-237-0413
                                                       Email: paul@butlercurwood.com
